Exhibit 2
9/8/23, 1:14 PM                                        binance.com/en/terms




  BINANCE TERMS OF USE

  Last Updated: 21 August 2023
  Effective Date: 31 August 2023


  These Terms constitute a legally binding agreement between you (“you” or “your”) and Binance
  (“Binance”, “we”, “our” or “us”). The Terms govern your use of the Binance Services made available
  to you on or through the Platform or otherwise. Binance Services may be provided by Binance or, if
  specified in these Terms, any Product Terms or any additional terms, by any Binance Affiliate.

  By registering for a Binance Account, accessing the Platform and/or using the Binance Services, you
  agree that you have read, understood and accepted these Terms, together with any additional
  documents or terms referred to in these Terms. You acknowledge and agree that you will be bound by
  and will comply with these Terms, as updated and amended from time to time.

       If you do not understand and accept these Terms in their entirety, you should not register for a
                   Binance Account or access or use the Platform or any Binance Service.



                                              RISK WARNING

  As with any asset, the value of Digital Assets can fluctuate significantly and there is a material
  risk of economic loss when buying, selling, holding or investing in Digital Assets. You should
  therefore consider whether trading or holding Digital Assets is suitable for you in light of your
                                      financial circumstances.

   Further information on the risks associated with using the Binance Services is set out in our
    Risk Warning, which may be updated from time to time. You should read the Risk Warning
  carefully, however it does not explain all of the risks that may arise, or how such risks relate to
                                   your personal circumstances.


  It is important that you fully understand the risks involved before making a decision to use the
                                          Binance Services.



  We are not your broker, intermediary, agent or advisor and we have no fiduciary relationship or
  obligation to you in connection with any Transactions or other activities you undertake when using the
  Binance Services. We do not provide investment or consulting advice of any kind and no
https://www.binance.com/en/terms                                                                          1/42
9/8/23, 1:14 PM                                        binance.com/en/terms

  communication or information that we provide to you is intended as, or should be construed as, advice
  of any kind.

  It is your responsibility to determine whether any investment, investment strategy or related
  transaction is appropriate for you according to your personal investment objectives, financial
  circumstances and risk tolerance and you are responsible for any associated loss or liability. We do
  not recommend that any Digital Asset should be bought, earned, sold or held by you. Before making
  the decision to buy, sell or hold any Digital Asset, you should conduct your own due diligence and
  consult your financial advisor. We are not responsible for the decisions you make to buy, earn, sell or
  hold Digital Assets based on the information provided by us, including any losses you incur arising
  from those decisions.


  INFORMATION ABOUT OUR AGREEMENT WITH YOU

  1.     Introduction

  1.1. About us. The Binance group is an ecosystem centred around an online exchange for Digital
  Assets trading. The Binance group provides users with a trading platform to buy and sell Digital
  Assets, integrated custody solution allowing users to store their Digital Assets and other Digital Asset-
  related services.

  1.2. These Terms. By registering to open a Binance Account you are entering into a legally binding
  agreement with us. These Terms will govern your use of the Binance Services and tell you who we
  are, how we will provide the Binance Services to you, how these Terms may be changed or
  terminated, what to do if there is a problem, along with other important information.

  You must read these Terms, together with the documents referenced in the Terms, carefully and let us
  know if you do not understand anything.

  Where any Local Terms apply to your use of the Binance Services, such Local Terms will take
  precedence over these Terms.


  1.3. Additional documents. These Terms refer to a number of additional documents which also
  apply to your use of the Binance Services. This includes:

  a. Our Privacy Notice, which sets out the terms on which we process any personal data we collect
  about you, or that you provide to us. By using the Binance Services, you understand and agree to
  such processing and you promise that all data provided by you is accurate and up to date.




https://www.binance.com/en/terms                                                                          2/42
9/8/23, 1:14 PM                                           binance.com/en/terms


  b. Our Risk Warning, which sets out important information on the risks that can arise when buying,
  selling, holding or investing in Digital Assets.


  c.     The Fee Structure page on our Website.

  d. Product Terms, which set out additional terms and conditions that will apply to your use of
  specific Binance Services.

  You acknowledge that you will be bound by, and agree that you will comply with, any relevant
  additional terms and conditions that apply to your use of the Binance Services.


  2.     Eligibility

  2.1. Eligibility criteria. To be eligible to register for a Binance Account and use the Binance Services,
  you must:

  a.     be an individual, corporation, legal person, entity or other organisation with the full power,
  authority and capacity to (1) access and use the Binance Services; and (2) enter into and comply with
  your obligations under these Terms;

  b.     if you are an individual, be at least 18 years old;

  c. if you act as an employee or agent of a legal entity, and enter into these Terms on their behalf,
  you must be duly authorised to act on behalf of and bind such legal entity for the purposes of entering
  into these Terms;


  d.     not have been previously suspended or removed from using Binance Services;

  e.     not be a Restricted Person;

  f.     not currently have an existing Binance Account; and


  g. not be located, incorporated, otherwise established in, a citizen of, or resident of, or have
  business operations in:

  i.     a jurisdiction where it would be illegal under Applicable Law for you to access or use the Binance
  Services, or cause us or any third party to contravene any Applicable Law; or

  ii.    a country listed in our List of Prohibited Countries.


https://www.binance.com/en/terms                                                                          3/42
9/8/23, 1:14 PM                                         binance.com/en/terms


  2.2. Amending our eligibility criteria. We may amend our eligibility criteria at any time in our sole
  discretion. Where possible, we will give you notice in advance of the change. However, we may
  occasionally need to make changes without telling you in advance. This may include where:

  a.     we are making the change as a result of legal and/or regulatory changes;

  b.     the changes being made are in your interest; and/or

  c.     there is any other valid reason which means there is no time to give you notice.

  Where we are unable to give you advance notice, we will let you know of the change as soon as
  possible after it is made.

  3.     How we contact each other

  3.1. How you can contact us. For more information on Binance, you may refer to the information
  found on our Website. If you have questions, feedback or complaints you can contact us via our
  Customer Support team at https://www.binance.com/en/chat. These Terms may specify contact details
  for particular notices. This address is not monitored for those notices.

  3.2. How we will contact you. We will contact you using the details you provide to us. This may
  include contacting you by email, SMS or telephone. It is important that you ensure that your contact
  details are correct and up to date. If your contact details change, you must let us know immediately. If
  you do not, we will not be responsible if you do not receive information, notices or other important
  information from us.


  4.     Binance Services

  4.1. Specific product terms. Once you have opened a Binance Account, you will be able to use the
  Binance Services in accordance with these Terms and the Product Terms that govern your use of
  each specific Binance Service.

  4.2. Intra-group services. You acknowledge and agree that some of the Binance Services may be
  provided by Binance Affiliates.

  5.     Chat Service

  5.1. Availability of Chat Service. We may make our interactive online chat service available to you
  (“Chat Service”) at any time in connection with your use of any of the Binance Services. By using the
  Chat Service, you may interact with a bot, chatbot, or other non-human. We will disclose the use of a
https://www.binance.com/en/terms                                                                          4/42
9/8/23, 1:14 PM                                         binance.com/en/terms

  chatbot, or other non-human, to the extent required by Applicable Law. When engaging with us
  through use of the Chat Service, you authorise us to monitor and save your chats.

  5.2. Important information. The Chat Service is provided as a convenience, often to facilitate your
  understanding of the Binance Services. Our Chat Service will make reasonable efforts to provide you
  with accurate and current information based on your question or need. Nothing we communicate in
  the Chat Service will be considered a legal agreement, representation or warranty as to the Binance
  Services, processes, decisions, or response times. Any personal data shared with us when using the
  Chat Service will be subject to the applicable privacy-related policies and notices described in our
  Privacy Notice.

  5.3. User Chats. In addition, we may make available to you chats that allow you to interact directly
  with other users of the Platform (“User Chat”).

  5.4. Prohibited actions. You must not use the Chat Service or any User Chat to send any abusive,
  defamatory, dishonest, or obscene message or any messages intended to manipulate a market or to
  spread false or misleading information or messages that are otherwise in contravention of Applicable
  Laws, and doing so may result in termination of the Chat Service session and may lead to restrictions
  on the availability of Binance Services to you.

  6.     Fees

  6.1. Payment of fees. You agree to pay all applicable fees in connection with your use of the Binance
  Services as set out on the Fee Structure page on our Website, or otherwise communicated to you in
  any relevant Product Terms.


  You authorise us to deduct all applicable fees, commissions, interest, charges and other sums that
  you owe from your Binance Account under these Terms or any Product Terms in accordance with the
  method of calculation set out on our Fee Structure page. If you owe us an amount in one Digital Asset
  and do not have sufficient assets in that Digital Asset, we may deduct the sums owed in another
  Digital Asset to effect payment (in which case we will convert the Digital Asset you hold into the Digital
  Asset in which the sums owed to us are denominated (or the Fiat Currency equivalent), at the rate
  currently offered on the Platform or at such other commercially reasonable rate as we may determine).
  In the event that there are insufficient Digital Assets in your Binance Account, you acknowledge that
  any amount due and payable from you under this clause is a debt immediately due and owing by you
  to us in such amount and form (whether in the form of a Digital Asset or otherwise) as we may
  determine, acting in a commercially reasonable manner.

  6.2. Amending our fees. We may adjust our fees from time to time in accordance with clause 1
                                                                                             ‎ 8.3 of
  these Terms.

https://www.binance.com/en/terms                                                                           5/42
9/8/23, 1:14 PM                                         binance.com/en/terms


  INFORMATION ABOUT YOUR BINANCE ACCOUNT

  7.     Creating a Binance Account


  7.1. Account opening. You must create and maintain a Binance Account in order to access the
  Binance Services and the Platform. This may be a Binance Account for an individual user, or a
  Corporate Binance Account where the user is a corporation, entity or other organisation.

  All Binance Accounts are provided at our absolute discretion. We reserve the right to refuse any
  application for a Binance Account without reason or to limit the number of Binance Accounts that you
  may hold.

  7.2. Sole benefit. By opening a Binance Account you agree that:

  a.     where you are an individual user, you will use your Binance Account only for yourself, and not on
  behalf of any third party, unless you have obtained our prior written consent; and

  b. where you are a corporate user, your Permitted Users will use the Corporate Binance Account
  only for your benefit, and not on behalf of any third party, unless our prior written consent has been
  obtained.

  You are fully responsible for all activity that occurs under your Binance Account.

  7.3. Identity verification. You will need to comply with our identity verification procedures before you
  are permitted to open a Binance Account and access and use the Binance Services, by providing us
  with certain information about yourself and, where relevant, your Permitted Users. All information that
  you provide must be complete, accurate and truthful. You must update this information whenever it
  changes.


  You authorise us to make inquiries, whether directly or through third parties, that we consider
  necessary to verify your identity, and that of any Permitted Users, or protect you and/or us against
  fraud, money laundering, terrorist financing or other financial crime, and to take any action we deem
  necessary based on the results of such inquiries.

  When we carry out inquiries, you acknowledge and understand that your personal data , and that of
  any Permitted Users, may be disclosed to identity verification, compliance data recordation, credit
  reference, fraud prevention, or financial crime agencies and that these agencies may respond to our
  inquiries in full.



https://www.binance.com/en/terms                                                                           6/42
9/8/23, 1:14 PM                                        binance.com/en/terms

  You can review our Privacy Notice to have more information about how we process your personal
  data.


  7.4. Enhanced due diligence. We may also require you to comply with our enhanced due diligence
  procedures by submitting additional information about yourself, your business or your Permitted
  Users, providing additional records or documentation, or having face to face meetings with
  representatives of Binance.

  7.5. Records. We keep your personal data to enable your continued use of Binance Services, for as
  long as it is required in order to fulfil the relevant purposes described in this Privacy Notice, and as
  may be required by law such as for tax and accounting purposes, compliance with anti-money
  laundering laws, or as otherwise communicated to you. Please review our Privacy Notice for more
  information on how we collect and use your personal data relating to the use and performance of our
  Sites and the Binance Services.

  7.6. Sub-Accounts. At our discretion, you may create and access a Binance Sub-Account. Each
  natural person associated with a Binance Sub-Account is subject to the identity verification
  requirements set out in this clause 7
                                      ‎ . Only one natural person or corporate entity may be associated
  with a particular Binance Sub-Account.


  8.     Information requests

  8.1. When we may request information. We may require information from you at any time for the
  purposes of complying with any Applicable Law, identity verification requirements, or in connection
  with the detection of money laundering, terrorist financing, fraud, or any other financial crime, or for
  any other valid reason. You agree to provide us with any such information we request and permit us to
  keep a record of the information for the lifetime of your Binance Account as long as it is required to
  fulfil their intended purposes, or such other period as prescribed by Applicable Law.

  8.2. What happens when you provide information. Your access to your Binance Account and the
  Transaction limits that apply to your use of the Binance Services may be altered as a result of
  information collected about you on an ongoing basis. If there is a reasonable suspicion that any
  information provided by you is wrong, untruthful, outdated, or incomplete, we may send you a notice to
  request corrections, remove relevant information, or do such other things that we consider necessary
  to ensure that the information provided by you is true and correct.

  8.3. If you fail to provide any requested information. You must comply with any information
  request we send to you. If you decline to provide the requested information, or otherwise do not
  comply in a timely manner, we reserve the right to suspend or terminate your access to your Binance
  Account, or to all or part of the Binance Services immediately, without notice.

https://www.binance.com/en/terms                                                                             7/42
9/8/23, 1:14 PM                                             binance.com/en/terms


  9.     Accessing your Binance Account

  9.1. Access. To access your Binance Account you or, where relevant, your Permitted Users, must
  have the necessary equipment (such as a computer or smartphone) and access to the internet. Your
  Binance Account can be accessed directly using the Platform or by such other mode of access
  (including APIs) as we may prescribe. You are only permitted to access your Binance Account by
  using the Access IDs we provide to you or your Permitted Users for such purposes. We may require
  multi-factor authentication to keep your Binance Account safe and secure.

  The use of the Platform and other access methods may be subject to such additional terms as we
  communicate to you.

  9.2. Restricting access to third parties. You must ensure that any Binance Account(s) registered
  under your name will not be used by any person other than yourself or, with respect to Corporate
  Binance Accounts, your Permitted Users, other than in accordance with these Terms.

  10. Account information and Transaction records


  10.1.    Your Account History. You will be able to access your Account History on the Platform.
  You must review your Account History carefully and let us know if you see any entries or Transactions
  that you do not recognise or you think are incorrect within fourteen (14) calendar days of the date that
  your Account History is provided or made available to you.

  10.2.           Errors. We may rectify any error in your Account History at any time, and reserve the right
  to void or reverse any Transaction involving or deriving from a Manifest Error or to amend the details
  of such Transaction to reflect what we reasonably consider to be the correct or fair details of such a
  Transaction absent Manifest Error. Without prejudice to the generality of the other terms in these
  Terms, and in the absence of fraud or bad faith, Binance shall in no circumstances be liable to you for
  any loss or demand of whatsoever nature you may suffer or incur in connection with any Manifest
  Error howsoever arising, whether direct or indirect, special or consequential, including, but not limited
  to, loss of profit or loss of opportunity, even if Binance had been advised of the possibility of the same
  arising or that the same were reasonably foreseeable.

  10.3.    Information sharing. We may be required under Applicable Law to share information about
  your Binance Account and Account History with third parties. You acknowledge and agree that we are
  entitled to disclose such information. For more information about how we process your personal data
  you can review our Privacy Notice.


  USING YOUR ACCOUNT


https://www.binance.com/en/terms                                                                                8/42
9/8/23, 1:14 PM                                          binance.com/en/terms


  11. Instructions


  11.1.     Giving Instructions. You must ensure that any Instruction submitted is complete and
  accurate. We are not required to verify the accuracy, authenticity or validity of any Instruction and will
  not monitor or reject Instructions on the basis that they are, or appear to be, duplicates. However, if we
  are in doubt as to the accuracy, authenticity or validity of an Instruction, we may refuse to act upon or
  defer acting upon any Instruction, or seek further information with respect to the Instruction.


  Instructions are irrevocable and therefore once an Instruction has been submitted you, or your
  Permitted Users, have no right to rescind or withdraw it without our written consent. Your Instruction is
  not deemed to be received by us until it has been received by our server. Our record of all Instructions
  will be conclusive and binding on you for all purposes.

  11.2.     Acting on your Instructions. By submitting an Instruction you or your Permitted Users are
  authorising us to initiate the Transaction on your Binance Account. We are therefore authorised to
  credit or debit (or provide settlement information to third parties for the purposes of the third party
  crediting or debiting) your Digital Assets from your Binance Account in accordance with your
  Instruction. If you have insufficient Digital Assets or Fiat Currency in your Binance Account to effect
  the Transaction (i.e. less than the required amount to settle the Transaction and to pay all the fees
  associated with the Transaction), then we have the right to refuse to effect any Transaction. It is your
  responsibility to hold sufficient Digital Assets or Fiat Currency credited in your Binance Account.


  11.3.      Protection of Instructions. You are aware that Instructions and information transmitted on
  the Platform or by email are generally transmitted via the internet and may be routed via public,
  transnational installations which are not specifically protected. We cannot guarantee that the
  Instructions and information transmitted will be completely protected against unauthorised access, and
  you accept the associated risks.

  11.4.           Withdrawals. Subject to these Terms and any applicable Product Terms, and provided that
  you have sufficient balance on your Binance Account and the relevant Digital Assets are not on hold in
  your Binance Account in connection with any Binance Service, you may give Instructions to Binance to
  transfer Digital Assets to an external wallet address by submitting a withdrawal request on the
  Platform. Upon receipt of the withdrawal request, Binance will: (i) deduct your Binance Account
  balance; and (ii) initiate an on-chain transfer to an external wallet designated by you. Binance may not
  process a withdrawal request if, in our reasonable opinion, we consider that Applicable Law prevents
  the execution of the relevant withdrawal. Binance may also suspend withdrawals at such time deemed
  appropriate by Binance to resolve any incidents on the Platform. Once such incidents have been
  resolved, Binance will resume withdrawals.



https://www.binance.com/en/terms                                                                               9/42
9/8/23, 1:14 PM                                            binance.com/en/terms


  12. Transactions


  12.1.     Entering into Transactions. You may enter into Transactions directly with us, or directly
  with other users, which may or may not be facilitated by us.

  We do not represent or warrant that any Transaction will be completed successfully or within a specific
  time period.

  12.2.           Unauthorised Transactions. You are responsible for the control and use of your Binance
  Account. As such, we will assume that you, or a Permitted User, have authorised any Instruction sent
  from your Binance Account unless we are notified otherwise. It is important that you monitor your
  Account History to ensure any unauthorised or suspicious activity on your Binance Account is
  identified and notified to us as soon as possible. We are not responsible for any claim or losses
  resulting from a Transaction executed as a result of an unauthorised Instruction unless you have
  notified us in accordance with this clause.


  12.3.     Retention of Transaction information. To facilitate compliance with global industry
  standards for data retention, you agree to permit us (but agree to not require us) to keep a record of
  all Transaction information for the lifetime of your Binance Account as long as it is required to fulfil their
  intended purposes, or such other period as prescribed by Applicable Law. Please review our Privacy
  Notice for more information on how we collect and use data relating to the use and performance of our
  Sites and the Binance Services.


  13. Material interests and conflicts

  13.1.      Binance group. You understand that Binance is a member of a group of companies which
  is involved in activities connected with Digital Assets.


  13.2.    Nature of our duties. You understand and agree that neither your relationship with us nor
  any Binance Service we provide to you, nor any other matter, will give rise to any duties on our part or
  on the part of any Binance Affiliate, whether legal, equitable, fiduciary in nature, save as are expressly
  set out in these terms. In particular, we and any Binance Affiliate may from time to time act in more
  than one capacity, and in those capacities we may receive fees or commissions from more than one
  user (including you). You agree that we may act in such capacities and provide any other Binance
  Services or carry out any business with or for you, any Binance Affiliate or any other user.

  13.3.           Material interests. You understand and agree that neither we nor any Binance Affiliate will
  be required to: (1) have regard to any information known to us, or to any Binance Affiliate, which is a
  material interest; (2) disclose any such information to you; or (3) use any such information for your
  benefit. You further acknowledge that from time to time we may receive general market information in
https://www.binance.com/en/terms                                                                             10/42
9/8/23, 1:14 PM                                            binance.com/en/terms

  the course of providing Binance Services to you, which we may use in the ordinary course of our
  business.

  13.4.           Conflicts of interest. We have established and maintain effective organisational and
  administrative arrangements with a view to taking all appropriate steps to identify and manage
  conflicts of interest between us and our users and relevant third parties, so as to prevent conflicts of
  interest from adversely affecting the interests of our users. In cases where such organisational and
  administrative arrangements are not sufficient to ensure that the risks of damage to your interests will
  be prevented, we will inform you of the nature and/or sources of the relevant conflicts of interest and
  the steps taken to mitigate those risks in order to allow you to make an informed decision as to
  whether to continue to transact with us. We reserve the right at all times to decline to act for you
  where we are not able to manage a conflict of interest in any other way.

  14. Transaction limits


  14.1.           Your Transaction limits. Your Binance Account may be subject to a limit on:

  a.     the amount or volume of Transactions you may undertake in connection with your Binance
  Account; and/or

  b. the amount or value of Fiat Currency or Digital Assets you may transfer into or out of your
  Binance Account,


  in each case in a given period (e.g. daily). Any applicable limits are shown in your Binance Account.


  14.2.      Changes to your Transaction limits. We reserve the right to change any Transaction limit
  that applies to your Binance Account at any time at our absolute discretion. It may also be possible for
  you to request a change in your limits. Any change will be made in our absolute discretion and will be
  subject to any further conditions that we deem necessary.


  15. Supported Digital Assets


  15.1.     Supported Digital Assets. The Binance Services are only available in connection with
  Supported Digital Assets, which may change from time to time. A list of the Supported Digital Assets is
  published on our Website. We may remove or suspend one or more Digital Assets from the list of
  Supported Digital Assets and we will use reasonable commercial efforts to notify you in advance. ,
  meaning that you will no longer be able to access such Digital Assets as part of the Binance Services
  and will only be permitted to withdraw the Digital Assets from your Binance Account. If Digital Assets
  that are no longer Supported Digital Assets remain in your Binance Account beyond a specified period
  notified to you, Binance may in its reasonable discretion convert such Digital Assets into a different

https://www.binance.com/en/terms                                                                            11/42
9/8/23, 1:14 PM                                             binance.com/en/terms

  type of Digital Asset that is a stablecoin. Binance shall notify you in advance of any conversion and
  you may withdraw such Digital Assets within a reasonable period as specified by Binance to you, prior
  to their conversion into stablecoins.

  We assume no liability in connection with any attempt to use your Binance Account for Digital Assets
  that we do not support nor for the conversion to a different type of Digital Asset, as described in this
  clause.


  15.2.      Forks. We may temporarily suspend any Binance Services in relation to a particular Digital
  Asset while we determine whether or not to support a Fork. We are under no obligation to support a
  Fork of a Digital Asset that you hold in your Binance Account, regardless of whether any resulting
  version of such Forked Digital Asset is a Dominant Digital Asset or not. If we elect to support a Fork of
  a Digital Asset, we will make a public announcement through our Website or by such other means as
  we may deem appropriate.


  You acknowledge that we have no control over, nor do we have the ability to influence, the creation or
  implementation of a Fork. We can provide no assurances about the security, functionality or supply of
  any Digital Asset, including both the new Dominant Digital Asset or other Digital Assets subject to the
  relevant Fork. You may not be able to trade the Forked Digital Assets on the Platform and you may
  lose any value associated with the relevant Digital Assets.


  15.3.      Backed Digital Assets. We may from time to time support Digital Assets that purport to be
  backed by or otherwise tied or pegged in value to another asset, including Digital Assets, Fiat
  Currency or commodities such as silver or gold (“Backed Digital Assets”). You agree that you have
  read, understood and accepted all of the terms and conditions and risks associated with each
  particular Backed Digital Asset before entering into any Transaction relating to that Backed Digital
  Asset. We have no obligation to purchase, repurchase or effect or facilitate the redemption of your
  Backed Digital Assets. We reserve the right to change, suspend, or discontinue any service in relation
  to any Backed Digital Asset. We make no representation as to whether any particular Backed Digital
  Asset will hold its value as against any asset, nor as to the amount or quality of reserves or collateral
  held by each issuer or any third party in relation to any Backed Digital Asset.

  16. Account security

  16.1.           Your responsibility. You are responsible for taking appropriate action to protect your
  hardware and data from viruses and malicious software, and any inappropriate material. Except as
  provided by Applicable Law, you are responsible for backing up and maintaining duplicate copies of
  any information you store or transfer through the Binance Services. We are not responsible for any
  claim or losses resulting from your failure to comply with this clause.



https://www.binance.com/en/terms                                                                             12/42
9/8/23, 1:14 PM                                           binance.com/en/terms


  16.2.           Security measures. At all times, you and any Permitted Users shall maintain adequate
  security and control of all of your Access IDs. You are responsible for taking the necessary security
  measures (or ensuring that your Permitted Users take such measures) to protect your Binance
  Account and to keep your Access ID secure, including by:

  a.     strictly abiding by all of our mechanisms or procedures;

  b.     creating a strong password and maintaining security and control of your Access IDs;


  c. keeping the Email Account and telephone number provided to us up to date in order to receive
  any notices or alerts that we may send you;

  d. never allowing remote access or sharing your computer and/or computer screen with someone
  else when you are logged on to your Binance Account;


  e. remembering that under no circumstances will we ask you to share your passwords or 2-factor
  authentication codes; and

  f.     logging out from the Sites or the Platform at the end of each visit.

  You must keep the Email Account and Access IDs secure against any attacks and unauthorised
  access. You must notify us immediately if you have knowledge or have reason for suspecting that the
  security of your Email Account, or that of a Permitted User, has been compromised or if there has
  been any unauthorised use of your or any Permitted User’s Email Account.

  16.3.    Monitoring your Account History. It is important that you monitor your Account History to
  ensure any unauthorised or suspicious activity on your Binance Account is identified and notified to us
  as soon as possible. You acknowledge that any Security Breach may result in unauthorised access to
  your Binance Account by third parties and the loss or theft of any Digital Assets and/or funds held in
  your Binance Account and any associated accounts, including your linked bank account(s) and credit
  card(s).

  16.4.           If you suspect a Security Breach. If you suspect a Security Breach, you must ensure that:

  a. we are notified immediately using the details set out in clause 3
                                                                     ‎ .1 and continue to be provided
  with accurate and up to date information throughout the duration of the Security Breach;


  b. your Binance Account is immediately locked via the disable account function on the Platform or
  via any other method as may be prescribed by us from time to time; and


https://www.binance.com/en/terms                                                                          13/42
9/8/23, 1:14 PM                                           binance.com/en/terms


  c. you take any other steps that we may reasonably require to reduce, manage or report any
  Security Breach.

  We reserve the right to request, and you agree to provide, any and all information and documents we
  deem relevant or necessary in connection with an actual or suspected Security Breach, and may
  provide such information to any third party that we deem necessary in order to resolve any Security
  Breach.

  OTHER IMPORTANT INFORMATION

  17. Privacy

  17.1.           The Privacy Notice. Our collection and use of personal data in connection with these
  Terms, the Binance Services, the Platform and any Site is as provided in our Privacy Notice (as
  updated from time to time). You acknowledge that we may process personal data in relation to you,
  that you have provided to us, or we have collected from you in connection with these Terms and in
  accordance with Privacy Notice. Your personal data will be processed in accordance with the Privacy
  Notice, which shall form part of these Terms.

  You represent and warrant that:



  a. you acknowledge that you have read and understood our Privacy Notice.

  b. our business changes regularly and our Privacy Notice will change also. Therefore, if from time to
  time we provide you with a replacement version of the Privacy Notice, you will promptly read the
  Privacy Notice.


  18. Changes to the Terms, etc.

  18.1.     How and when we can make changes. We can make changes to these Terms and any
  terms and conditions incorporated by reference (including any Product Terms) at any time and your
  acceptance of these Terms constitutes your express consent. We will let you know of any changes by
  email or via our Website.


  We will let you know in advance of most changes and will give you notice before the changes take
  effect. However, we may occasionally need to make changes without telling you in advance. This may
  include where:



https://www.binance.com/en/terms                                                                          14/42
9/8/23, 1:14 PM                                          binance.com/en/terms


  a.     we are making the change as a result of legal and/or regulatory changes;

  b.     the changes being made are in your interest;


  c.     the changes are to make these Terms clearer to you; and/or

  d.     there is any other valid reason which means there is not time to give you notice.

  Where we are unable to give you advance notice, we will let you know of the change as soon as
  possible after it is made.


  18.2.     When changes come into effect. Save where changes come into effect immediately, the
  updated Terms will come into effect after we have given you notice. If you do not wish to accept the
  changes, you are free to close your Binance Account in accordance with clause 1  ‎ 9.1 of these Terms. If
  we do not hear from you, we will assume that you have accepted the change and your continued
  access to or use of Binance Services will be deemed acceptance of the updated Terms.

  18.3.           Changes to fees. We may also make changes to the fees set out in the Fee Structure page
  on our Website, which includes introducing new fees and/or charges. If you do not wish to accept the
  changes, you are free to close your Binance Account in accordance with clause 1‎ 9.1 of these Terms. If
  we do not hear from you, we will assume that you have accepted the change and your continued
  access to or use of the Binance Services will be deemed acceptance of the updated Terms.

  19. Closing your Binance Account


  19.1.      Your right to close your Binance Account. You may terminate your Binance Account at
  any time by following the account termination procedures as prescribed by us from time to time. You
  will not be charged for terminating your Binance Account, although you will be required to pay any
  outstanding amounts owed to us. You authorise us to cancel or suspend any pending transactions at
  the time of cancellation, and to deduct any outstanding amounts that you owe us from your Binance
  Account.


  In certain cases, you may not be able to close your Binance Account, including where:

  a.     you are trying to evade an investigation by relevant authorities;

  b.     you have a pending Transaction or an open Claim;

  c.     your Binance Account has any outstanding amounts owed to us; or


https://www.binance.com/en/terms                                                                        15/42
9/8/23, 1:14 PM                                          binance.com/en/terms


  d.     your Binance Account is subject to a freeze, hold, limitation or reserve.


  19.2.       What happens when your Binance Account is closed. If your Binance Account is closed,
  you will be required to withdraw all Digital Assets held in your Binance Account. In the event that you
  fail to withdraw your Digital Assets, or if you have not accessed your Binance Account for a continuous
  period of 90 days, will send you notice of our intention to treat your account as dormant.

  19.3.     What happens when your account becomes dormant. If you do not respond to the notice
  in clause 19.2 within 30 days, we may:


  a.     mark your Binance Account as a dormant account;

  b. convert the Digital Assets to a different type of Digital Asset. In doing so, we will not be liable for
  any loss of profit, tax obligations or any other loss, damage or expense incurred by you resulting from
  such conversion;


  c. transfer such dormant account and/or any Digital Assets held in that account to any third party
  (including, without limitation, another Binance Affiliate, any third-party custodian or an isolated wallet)
  if we consider it is reasonably necessary to do so. If this happens, you have the right to retrieve your
  Digital Assets, subject to satisfying our (or the relevant third party’s) reasonable verification
  requirements and any other applicable terms and conditions;

  d.     adjust your dormant account such that you will receive a contractual claim on the quantity and
  type of Digital Assets, which were held on your Binance Account before being converted into a
  dormant account;

  e. charge a dormant account fee which may be to cover the cost of maintaining the Digital Assets
  with any Binance Affiliate or any third party, with such fee to be withdrawn directly from the dormant
  account on a monthly basis; and


  f.     close a dormant account at any time.

  After a dormant account is closed, it cannot be reactivated and you will need to register a new
  Binance Account, in accordance with these terms, if you wish to continue to use Binance Services.
  You acknowledge that we will be under no obligation to pay any reward, incentive or interest which we
  might otherwise have agreed to pay, under the applicable Product Terms, to your dormant account in
  relation to the Digital Assets credited to it.


  20. Termination, suspension, holds and restrictions


https://www.binance.com/en/terms                                                                            16/42
9/8/23, 1:14 PM                                         binance.com/en/terms


  20.1.      Our right. We may at any time modify or discontinue, temporarily or permanently, any
  portion or feature of the Binance Services. In particular, we may: (1) refuse to complete or block,
  cancel, or, where permitted by Applicable Law, reverse any Transaction you have authorised; (2)
  terminate, suspend, or restrict your access to any or all of the Binance Services; (3) terminate,
  suspend, close, hold or restrict your access to any or all of your Binance Account(s); (4) refuse to
  transmit information or Instructions to third parties (including but not limited to third-party wallet
  operators); and/or (5) take whatever action we consider necessary, in each case with immediate effect
  and for any reason including, but not limited to where:

  a.     you are not, or are no longer, eligible to use one or more Binance Services;

  b.     we reasonably suspect that:

  i.     the person logged into your Binance Account is not you, or we suspect that the Binance Account
  has been or will be used for any illegal, fraudulent, or unauthorised purposes;

  ii.   the person logged into your Corporate Binance Account is not a Permitted User, or we suspect
  that the Corporate Binance Account has been or will be used for any illegal, fraudulent, or
  unauthorised purposes;

  iii.   more than one natural person has access to and/or transacts using the same Binance Account,
  or we suspect that Binance Account has been or will be used for any illegal, fraudulent, or
  unauthorised purposes;

  iv.    information provided by you is wrong, untruthful, outdated, or incomplete;

  c.     we have reasonable concerns in relation to your creditworthiness or financial status, including:


  i.  in the event that you are an individual, you become bankrupt, of unsound mind, commit an act of
  bankruptcy, or have action to place you in bankruptcy commenced against you;

  ii.  in the event that you are acting on behalf of a partnership, any of the partners die or become
  bankrupt or of unsound mind, commit an act of bankruptcy, or have action to place any of the partners
  in bankruptcy commenced, or if action is commenced to dissolve and/or alter the partners or the
  constitutions of the partnership;


  iii. in the event that you are acting on behalf of a corporation, the corporation is unable to pay its
  debts as and when they are due, or action is commenced to place the corporation in insolvency,



https://www.binance.com/en/terms                                                                            17/42
9/8/23, 1:14 PM                                           binance.com/en/terms

  judicial management, receivership, administrative management, or any similar or analogous
  proceedings;

  iv. you convene a meeting of your creditors or propose or make any compromise or arrangement
  with or any assignment for the benefit of your creditors;

  d.     pending submission of such information and documents in accordance with clause 8
                                                                                        ‎;

  e.     pending submission of Enhanced due diligence in accordance with clause 7
                                                                                ‎ .4;


  f.   we reasonably consider that we are required to do so by Applicable Law, or any court or authority
  to which we are subject in any jurisdiction;

  g.     we have determined or suspect:

  i.     that you have breached these Terms or any Product Terms;


  ii.  that you have breached any express or implied warranties in these Terms, or any representations
  you have made;

  iii. that any Transaction is unauthorised, erroneous, fraudulent, or unlawful or we have determined
  or suspect that your Binance Account or the Binance Services are being used in a fraudulent,
  unauthorised, or unlawful manner;


  iv. there is any occurrence of money laundering, terrorist financing, fraud or any other crime in
  connection with your Binance Account or your use of the Binance Services;

  h. the use of your Binance Account is subject to any pending, ongoing or threatened litigation,
  investigation, or judicial, governmental or regulatory proceedings and/or we perceive a heightened risk
  of legal or regulatory non-compliance associated with your Binance Account activity;


  i.   you owe amounts to Binance that are not satisfied, whether due to a chargeback or on any other
  basis;

  j.     any email communication to your Email Account is returned as undeliverable;

  k.     an issue has arisen with the verification of your identity;


  l.  you have taken any action that may circumvent our controls such as opening multiple Binance
  Accounts without our written consent or abusing promotions which we may offer from time to time; or

https://www.binance.com/en/terms                                                                        18/42
9/8/23, 1:14 PM                                        binance.com/en/terms


  m.     there is any other valid reason which means we need to do so.


  We will take reasonable steps to provide you with appropriate notice. However, there might be times
  when we are required not to do so by Applicable Law.

  20.2.           Your acknowledgement. You acknowledge and agree that:

  a. the examples set out in clause 2   ‎ 0.1 above of when we might take action to terminate, suspend,
  close or restrict your access to your Binance Account and/or the Binance Services is a non-exhaustive
  list; and

  b. our decision to take certain actions, including, without limitations, to terminate, suspend, or
  restrict your access to your Binance Account or the Binance Services, may be based on confidential
  criteria that are essential to our risk management and security protocols. You agree that we are under
  no obligation to disclose the details of our risk management and security procedures to you.


  20.3.    What happens when we exercise our right. Where we terminate, suspend, hold or restrict
  your access to one or more Binance Services:

  a. if you have Instructions, trades, positions or Transactions that are open, they may be closed by
  you, or by us, depending on the circumstances of the termination, suspension, hold, restriction or
  other action we take;


  b. any chargeback resulting from the use of your Binance Account or Binance Services may result
  in an immediate suspension and/or restriction of your Binance Account and Binance Services;

  c. to reactivate suspended and/or restricted Binance Account or Binance Services, you may be
  required to reimburse us for the full value of the chargeback, including any amounts that are owing to
  us including any applicable fees; and

  d.     you are liable for any credited amounts in case of a chargeback, and you authorise and grant us
  the right to deduct costs and fees directly from any assets in your Binance Account without notice.

  20.4.     Unlawful possession. If we are informed and reasonably believe that any Digital Assets or
  Fiat Currencies held in your Binance Account are stolen or otherwise are not lawfully possessed by
  you (whether by error or otherwise), we may, but have no obligation to, place a hold on the affected
  funds and your Binance Account. Where we place a hold on some or all of any Digital Assets or Fiat
  Currencies held in your Binance Account, or on your entire Binance Account, we may continue such
  hold until such time as evidence, acceptable to us, proves that you are entitled to possession of the
  Digital Assets and/or Fiat Currency held in your Binance Account. We will not get involved in any
https://www.binance.com/en/terms                                                                          19/42
9/8/23, 1:14 PM                                          binance.com/en/terms

  dispute, or the resolution of the dispute, relating to any Digital Assets and/or Fiat Currency held in your
  Binance Account.

  20.5.           Access to Binance Services in other jurisdictions. Residents of some countries may
  only be able to access some, but not all, Binance Services. We may change the Binance Services that
  are available to you from time to time. If you travel to a location included on our List of Prohibited
  Countries, Binance Services may not be available and your access to the Binance Services may be
  blocked. You acknowledge that this may impact your ability to trade on the Platform and/or monitor
  any existing orders or open positions or otherwise use the Binance Services. You must not attempt in
  any way to circumvent any such restriction, including by use of any virtual private network to modify
  your internet protocol address.


  INTELLECTUAL PROPERTY

  21. Background IP

  The Binance IP shall remain vested in Binance.


  22. Licence of Binance IP

  We grant to you a non-exclusive licence for the duration of these Terms, or until we suspend or
  terminate your access to the Binance Services, whichever is sooner, to use the Binance IP, excluding
  the Trade Marks, solely as necessary to allow you to receive the Binance Services for non-commercial
  personal or internal business use, in accordance with these Terms.


  23. Licence of User IP

  23.1.    Your grant of licence. You grant to us a perpetual, irrevocable, royalty-free, worldwide and
  non-exclusive licence to use the User IP to the extent it:

  a.     forms part of, or is necessary for the use of, any Created IP; and


  b.     is necessary to allow us to provide you with the Binance Services, from time to time.

  23.2.     Our right to sub-licence. The licence granted by you under this clause i‎ncludes our right to
  sub-licence to a third party to the extent required to enable us and any Binance Affiliates to
  provide you with the Binance Services, or any part of them.

  24. Created IP



https://www.binance.com/en/terms                                                                          20/42
9/8/23, 1:14 PM                                          binance.com/en/terms


  24.1 Created IP. The Created IP shall automatically vest in us from time to time on the date on which
  it is created.

  24.2 Assignment. You hereby assign to us (and agree to procure that any agents, representatives
  or contractors assign), with full title guarantee, title to all present and future rights and interest in
  the Created IP.

  If requested to do so, you shall (and agree to procure that any agents, representatives or contractors
  shall), without charge to us, sign and/or execute all documents and do all such acts as we may require
  to perfect the assignments under this clause.

  25. General


  25.1 We are not responsible. You agree and acknowledge that: (1) we are not responsible for any
  User Material (whether provided by you or by third parties) which may be made available on the
  Platform or the Sites; and (2) use of any such User Material is at your own risk and that we do
  not provide any warranties in relation to the same.

  25.2 Our rights. We shall have the right at our sole and absolute discretion to remove, modify or
  reject any content that you submit to, post or display on the Platform or the Sites (including any
  User Material) for any reason. We reserve the right to take any actions as we deem appropriate
  at our sole discretion, including giving a written warning to you, removing any User Material,
  recovering damages or other monetary compensation from you, suspending or terminating your
  Binance Account (if any), or suspending your access to the Platform and/or the Sites. We shall
  also have the right to restrict or ban you from any and all future use of any Binance Services.


  25.3 Recording. You agree that we may record any communications, electronic, by telephone, over
  video call, or otherwise, that we have with you in relation to these Terms, and that any
  recordings that we keep will constitute evidence of the communications between you and us.
  You agree that telephone conversations and video calls may be recorded so that we can
  respond to inquiries, ensure compliance with applicable laws, improve our services and provide
  customer support.


  YOUR OBLIGATIONS AND LIABILITY

  26. Prohibited use

  By opening a Binance Account, and without prejudice to any other restriction or limitation set out in
  these terms, you agree that you and any Permitted User will not:


https://www.binance.com/en/terms                                                                              21/42
9/8/23, 1:14 PM                                         binance.com/en/terms


  a. breach these Terms or any agreement entered into pursuant to, or in connection with, these
  Terms, including, but not limited to, any Product Terms;


  b. use Binance Services in a manner that violates public interests, public morals, or the legitimate
  interests of others, including any actions that would interfere with, disrupt, negatively affect, or prevent
  other users from using Binance Services;

  c. use Binance Services for resale or commercial purposes, including transactions on behalf of
  other persons or entities, unless expressly agreed by us in writing;


  d. use the Binance Services for anything which, in Binance’s sole opinion, is conduct designed to
  control or artificially affect the price of any Digital Asset (market manipulation) including, without
  limitation, pump and dump schemes, wash trading, self-trading, front running, quote stuffing, and
  spoofing or layering) regardless of whether prohibited by Applicable Law;

  e. engage in fraudulent activities, or cause us to suspect that you or any Permitted User have
  engaged in fraudulent activities and/or Transactions;


  f.  use Binance Services to conduct lotteries; bidding fee auctions; sports forecasting or odds
  making; fantasy sports leagues with cash prizes; internet gaming; contests; sweepstakes; or games of
  chance;

  g. (1) receive, or attempt to receive, funds from both us and another user for the same Transaction
  during the course of a Claim; (2) conduct your business or use the Binance Services in a manner that
  results in, or may result in, complaints, disputes, claims, reversals, chargebacks, fees, fines, penalties,
  or other liability to us, other users, third parties, or yourself; and (3) allow your Binance Account to
  have a negative value or quantity of Digital Assets;

  h. provide false, inaccurate or misleading information in connection with your use of the Binance
  Services, in communications with us, or otherwise connected with these Terms;


  i.   (1) use any deep linking, web crawlers, bots, spiders or other automatic devices, programs,
  scripts, algorithms or methods, or any similar or equivalent manual processes to access, obtain, copy
  or monitor any part of the Platform, or replicate or bypass the navigational structure or presentation of
  Binance Services in any way, in order to obtain or attempt to obtain any materials, documents or
  information in any manner not purposely provided through Binance Services; (2) attempt to access
  any part or function of the Platform without authorisation, or connect to Binance Services or any of our
  servers or any other systems or networks of any Binance Services provided through the Platform by
  hacking, password mining or any other unlawful or prohibited means; (3) probe, scan or test the
  vulnerabilities of Binance Services or any network connected to the Platform, or violate any security or
https://www.binance.com/en/terms                                                                            22/42
9/8/23, 1:14 PM                                           binance.com/en/terms

  authentication measures on Binance Services or any network connected to Binance Services; (4)
  reverse look-up, track or seek to track any information of any other users or visitors of Binance
  Services; (5) take any actions that impose an unreasonable or disproportionately large load on the
  infrastructure of systems or networks of Binance Services or Binance, or the infrastructure of any
  systems or networks connected to Binance Services; (6) use any devices, software or routine
  programs to interfere with the normal operation of Binance Services or any transactions on Binance
  Services, or any other person’s use of Binance Services; or (7) forge headers, impersonate, or
  otherwise manipulate identification, to disguise your identity or the origin of any messages or
  transmissions you send to us;

  j.  modify or adapt the whole or any part of the Platform or combine or incorporate the Platform into
  another programme or application;


  k. disassemble, decompile, reverse-engineer or otherwise attempt to derive the source code, object
  code underlying concepts, ideas and algorithms of the Platform or any components thereof;


  l.   modify, replicate, duplicate, copy, download, store, further transmit, disseminate, transfer,
  disassemble, broadcast, publish, remove or alter any copyright statement or label, or licence, sub-
  licence, sell, mirror, design, rent, lease, private label, grant security interests in such Binance IP or any
  part of the intellectual properties, or create derivative works or otherwise take advantage of any part of
  the Binance IP;

  m.     facilitate any viruses, Trojan horses, worms or other computer programming routines that may
  damage, detrimentally interfere with, surreptitiously intercept, or expropriate any system, data or
  information in connection with the Binance Services;

  n.     (1) use an anonymizing proxy; (2) use any temporary, disposable, self-destructive, or similar
  email address when opening a Binance Account and/or using the Binance Services; (3) use any
  device, software, or routine to bypass our robot exclusion headers, or interfere or attempt to interfere
  with our Sites or the Binance Services; and (4) take any action that may cause us to lose any of the
  services from our internet service providers, or other suppliers;

  o. create, or purport to create, any security over your Fiat Currency or Digital Assets held in any of
  your Binance Account without our prior written consent;

  p.     violate, or attempt to violate, (1) any Applicable Law; or (2) ours or any third party’s copyright,
  patent, trademark, trade secret, or other intellectual property rights, or rights of publicity or privacy;
  and/or




https://www.binance.com/en/terms                                                                               23/42
9/8/23, 1:14 PM                                            binance.com/en/terms


  q.     access, use, or attempted to access or use, Binance Services directly or indirectly with (1)
  jurisdictions Binance has deemed high risk, including but not limited to, Cuba, Iran, North Korea,
  Syria, or (2) persons Binance has deemed high risk, including but not limited to, individuals or entities
  named as a restricted person or party on any list maintained by the United States of America., United
  Kingdom, European Union or United Nations, including the sanctions lists maintained by the U.S.
  Office of Foreign Assets Control or the Denied Persons List or Entity List maintained by the U.S.
  Department of Commerce.

  27. Representations and warranties

  You hereby represent and warrant to us, at all times, the following:

  a.     all documents and information you provide to us are true, accurate, complete, and up to date in
  all respects, and may be relied upon by us in determining whether or not you are eligible to access the
  Platform or to use the Binance Services;


  b. all decisions made in connection with these Terms were solely and exclusively based on your
  own judgement and after your own independent appraisal of your financial resources, ability and
  willingness to take relevant risks and financial objectives;

  c. you have full power, authority, and capacity to (1) access and use the Platform and/or the
  Binance Services; and (2) enter into and deliver, and perform your obligations under these Terms and
  any agreement entered into pursuant to, or in connection with, these Terms, including, but not limited
  to, any Product Terms;

  d.     if you are a corporation, partner in a partnership, or trustee of a trust:

  i.   the corporation, partnership or trust has and will be operated in a way that is compliant with
  Applicable Law, and any partnership or trust deeds (or other like documents);


  ii.  you will notify us immediately if there is any change, by way of resignation, removal, appointment
  or death, of any of the directors, partners, trustees, settlor(s) or ultimate beneficial owners or any
  person authorised to operate your Binance Account; and

  iii. you will inform us immediately if the corporation, partnership, or trust is dissolved either on a
  voluntary or involuntary basis;


  e. all consents, permissions, authorisations, approvals and agreements of third parties and all
  authorisations, approvals, permissions, consents, registrations, declarations, filings with any
  Regulatory Authority, governmental department, commission, agency or other organisation having
https://www.binance.com/en/terms                                                                           24/42
9/8/23, 1:14 PM                                             binance.com/en/terms

  jurisdiction over you which are necessary or desirable for you to obtain in order to (1) access and use
  the Platform and/or the Binance Services; and (2) enter into and deliver, and perform the Transactions
  contemplated under these Terms and any agreement entered into pursuant to, or in connection with,
  these Terms, have been unconditionally obtained in writing, disclosed to us in writing, and have not
  been withdrawn or amended;

  f.     these Terms and any agreement entered into pursuant to, or in connection with, these Terms
  constitute valid and legally binding obligations, enforceable against you in accordance with their
  respective terms;

  g.     that you are not a Restricted Person;


  h. if you are a legal entity, you are duly incorporated, duly organised, and validly existing under the
  laws of your jurisdiction and have full power to conduct your business. If you are an individual, you are
  not less than 18 years old; and

  i.   your access and use of the Platform and/or the Binance Services, your execution and delivery of,
  and the performance of your obligations under these Terms and any agreement entered into pursuant
  to, or in connection with, these Terms, will not:

  i.     if you are a legal entity, partner in a partnership or trustee of a trust result in a breach of or
  conflict with any provision of your constitution, articles of association, partnership agreement, trust
  deed or equivalent constitutive documents;

  ii.    result in a breach of, or constitute a default under, any instrument, agreement, document or
  undertaking to which you are a party or by which you or any of your property is bound or subject; and

  iii.   result in you, or cause us or any third party to, breach any Applicable Law, decree or judgement
  of any court, or any award of any arbitrator or those of any governmental or Regulatory Authority in
  any jurisdiction.

  28. Technology disclaimers


  28.1.     No representation or warranty. Binance Services and any information provided on the
  Sites and the Platform, including Chat Services, are provided on an “as is” and “as available” basis
  without any representation or warranty, whether express or implied, to the maximum extent permitted
  by Applicable Law. Specifically, we disclaim any implied warranties of title, merchantability, fitness for
  a particular purpose and/or non-infringement. We do not make any representations or warranties that
  access to the Sites, the Platform, any of your Binance Account(s), Binance Services, or any of the



https://www.binance.com/en/terms                                                                              25/42
9/8/23, 1:14 PM                                           binance.com/en/terms

  materials contained therein, will be continuous, uninterrupted, timely or error-free. This could result in
  the inability to trade on the Platform for a period of time and may also lead to time delays.


  28.2.    Suspension of access. We may, from time to time, suspend access to your Binance
  Account and/or the Binance Services, for both scheduled and emergency maintenance. We will make
  reasonable efforts to ensure that Transactions on the Platform are processed in a timely manner, but
  we make no representations or warranties regarding the amount of time needed to complete
  processing, which is dependent upon many factors outside of our control.

  28.3.           Content. Although we make reasonable efforts to update the information on the Sites and
  the Platform, we make no representations, warranties or guarantees, whether express or implied, that
  the content on the Sites and the Platform, including information in relation to the Binance Services, is
  accurate, complete or up to date.

  28.4.     Third-party websites. Links to third-party websites (including, without limitation, content,
  materials, and/or information in the third-party websites) may be provided as a convenience but they
  are not controlled by us. You acknowledge and agree that we are not responsible for any aspect of the
  content, materials, information or services contained in any third-party websites accessible or linked
  from the Platform or the Sites.

  28.5.           Network Access and Compatibility: You are responsible for obtaining the data network
  access necessary to use the Binance Services. You are responsible for acquiring and updating
  compatible hardware or devices necessary to access and use the Binance Services and Sites and any
  updates thereto. Binance does not guarantee that the Binance Services, or any portion thereof, will
  function on any particular hardware or devices. The Binance Services may be subject to malfunctions
  and delays inherent in the use of the internet and electronic communications.

  29. Indemnity

  29.1.           Third-party claims. You shall indemnify and hold harmless us from and against any claims,
  suits, actions, demands, disputes, allegations, or investigations brought by any third-party,
  governmental authority, or industry body, and all claims, liabilities, damages (actual and
  consequential), losses (including any direct, indirect or consequential losses, loss of profit, loss of
  reputation), costs, and expenses, including without limitation all interest, penalties and legal and other
  reasonable attorneys’ fees and other professional costs and expenses (“Losses”), arising out of or in
  any way connected with:

  a.     your access to or use of your Binance Account and/or the Binance Services;




https://www.binance.com/en/terms                                                                            26/42
9/8/23, 1:14 PM                                             binance.com/en/terms


  b. your breach or alleged breach of these Terms or your contravention of any other clause or sub-
  clause of these Terms, including any Product Terms and any other terms and conditions incorporated
  by reference;

  c.     your contravention of any Applicable Law; and

  d.     your violation of the rights of any third party.

  29.2.           Control. We reserve the right to assume control of the defence of any third-party claim that
  is subject to indemnification by you, in which event you shall cooperate as fully required by us in
  asserting any available defences. You will not settle any claims or Losses without our prior written
  consent.

  29.3.           Release. You hereby agree to release us from any and all claims and demands (and waive
  any rights you may have against us in relation to any Losses you may suffer or incur), arising directly
  or indirectly out of or in connection with any dispute that you have with any other user or other third
  party in connection with the Binance Services (including any Digital Asset Transactions) or the subject
  matter of these Terms.

  30. Liability

  30.1 Our Liability. Our liability, and the liability of the Binance Affiliates, to you or any third parties in
  any circumstance is limited to the actual amount of loss or damage which is caused directly and is
  reasonably foreseeable by our breach of these terms, and shall in no event exceed the amount of fees
  paid by you to Binance in the 12 months preceding the event giving rise to the Loss. Such sum shall
  be paid by us to you in full and final settlement and satisfaction of ours and any Binance Affiliate’s
  entire liability for any and all losses and claims, howsoever arising, from the relevant breach. You
  acknowledge and agree that neither Binance or any Binance Affiliate is aware of any special
  circumstances pertaining to you, and that damages are an adequate remedy and that you shall not be
  entitled to any other claims or remedies at law or in equity, including but not limited to, any claim in
  rem, injunction, and/or specific performance.

  30.2 Limitations on liability. Notwithstanding any other clause in these Terms, in no event will we or
  any Binance Affiliate be responsible or liable to you or any other person or entity for:

  a. any direct or indirect losses (including loss of profits, business or opportunities), damages, or
  costs arising out of or in connection with these Terms, including but not limited to:


  i.     any risk identified in the Risk Warning, as updated from time to time;


https://www.binance.com/en/terms                                                                                   27/42
9/8/23, 1:14 PM                                             binance.com/en/terms


  ii.     the operation of the protocols underlying any Digital Asset, their functionality, security, or
  availability;

  iii. whether Backed Digital Assets hold their value as against any asset, or if the issuer of the
  Backed Digital Asset holds sufficient reserves in relation to any Backed Digital Asset;

  iv.     any action or inaction in accordance with these Terms;


  v.   any inaccuracy, defect or omission of Digital Assets price data, any error or delay in the
  transmission of such data, and interruption in any such data;

  vi.     regular or unscheduled maintenance we carry out including any service interruption and change
  resulting from such maintenance;

  vii.    the theft of a device enabled to access and use Binance Services;

  viii. other users’ actions, omissions or breaches of these Terms, and any damage caused by actions
  of any other third parties;

  ix. (1) for any damage or interruptions caused by any computer viruses, spyware, or other malware
  that may affect your computer or other equipment, or any phishing, spoofing, or other attack; (2) in the
  event that your hardware fails, is damaged or destroyed or any records or data stored on your
  hardware are corrupted or lost for any reason; or (3) for your use of the internet to connect to the
  Binance Services or any technical problems, system failures, malfunctions, communication line
  failures, high internet traffic or demand, related issues, security breaches or any similar technical
  problems or defects experienced;

  x.      our decision to reject your application to open a Binance Account(s), in accordance with clause
  ‎7.1;

  xi.     any termination, suspension, hold or restriction of access to any Binance Account or Binance
  Services, including your inability to withdraw Digital Assets, issue Instructions or enter into
  Transactions during the period of any suspension, hold or restriction, in accordance with these Terms
  or any Product Terms;

  xii.    any Transaction limits applied to your Binance Account, in accordance with clause 1
                                                                                            ‎ 4.1;

  xiii. any election by us to support or not support Digital Assets, in accordance with clause 1
                                                                                               ‎ 5.1;



https://www.binance.com/en/terms                                                                            28/42
9/8/23, 1:14 PM                                           binance.com/en/terms


  xiv. us being unable to contact you using the contact information you provided, in accordance with
  clause 3
         ‎ .2;

  xv.    us closing a dormant account, in accordance with clause 1
                                                                 ‎ 9.3;

  xvi. the failure of a Transaction or the length of time needed to complete any Transaction, in
  accordance with clause 1
                         ‎ 2.1;

  xvii. the market making activities of the market makers, in accordance with clause 1
                                                                                     ‎ 3.2;

  xviii. our reliance on any Instruction sent from your Binance Account, or the Email Accounts;

  xix. our refusal or delay in acting upon any Instruction, in accordance with clause 1
                                                                                      ‎ 1.1;

  xx. any breach of security of your Email Account or a Security Breach;

  xxi. losses caused to you by third party fraud or scams that involve Binance only as the recipient of
  your Fiat Currency or Digital Assets, and/or the conversion of Fiat Currency to Digital Assets, and/or
  the transfer of Digital Assets away from our platform at your request;


  xxii. any losses arising or in connection with new offerings of Digital Assets, initial coin offerings
  (ICOs), or the decision to list or not list Digital Assets on the Platform;

  xxiii. the correctness, quality, accuracy, security, completeness, reliability, performance, timeliness,
  pricing or continued availability of the Binance Services or for delays or omissions of the Binance
  Services, or for the failure of any connection or communication service to provide or maintain your
  access to the Binance Services, or for any interruption in or disruption of your access or any
  erroneous communications between us, regardless of cause; and

  xxiv. any Transactions, Instructions, or operations effected by you or purported to be effected by you
  through your Email Account or Binance Account;

  b.     any loss of business, profits, anticipated savings or opportunities, or any special, punitive,
  aggravated, incidental, indirect or consequential losses or damages, whether arising out of or in
  connection with our Sites, the Platform, your Binance Account, the Binance Services, these Terms, the
  Product Terms, the Privacy Notice and/or any agreement entered into pursuant to, or in connection
  with, these Terms or otherwise; and/or

  c. any losses forming part of a Claim that has not been commenced by way of formal legal action
  WITHIN ONE CALENDAR YEAR of the matters giving rise to the Claim. YOU AGREE AND
https://www.binance.com/en/terms                                                                             29/42
9/8/23, 1:14 PM                                            binance.com/en/terms

  ACKNOWLEDGE THAT THIS CLAUSE VARIES ANY LIMITATION PERIOD OTHERWISE
  APPLICABLE BY LAW, AND THAT IF APPLICABLE LAW PROHIBITS THIS, THIS CLAUSE WILL BE
  READ AS A LIMITATION PERIOD OF THE MINIMUM ENFORCEABLE LENGTH. WITHOUT
  PREJUDICE TO THE GENERALITY OF THE FOREGOING, YOUR ATTENTION IS ALSO DRAWN
  TO CLAUSE 32 AGREEING THAT CLAIMS SHALL BE RESOLVED EXCLUSIVELY BY WAY OF
  BINDING ARBITRATION.

  30.3 Damage or interruption. We are not liable for any damage or interruptions caused by any
  computer viruses, spyware, scareware, Trojan horses, worms, or other malware that may affect your
  computer or other equipment, or any phishing, spoofing, or other attack. We advise the regular use of
  a reputable and readily available virus screening and prevention software. You should also be aware
  that SMS and email services are vulnerable to spoofing and phishing attacks and should use care in
  reviewing messages purporting to originate from us. You and, where relevant, your Permitted Users
  are responsible for all login credentials, including usernames and passwords and must keep security
  details safe at all times.


  RESOLVING DISPUTES: FORUM, ARBITRATION, CLASS ACTION WAIVER

  For the avoidance of doubt, nothing in this section will deprive you of any mandatory legal
  right from which you benefit under Applicable Law.



  31. Notice of Claim and Dispute Resolution Period

  31.1.           Please contact Binance first if you have any concerns with the Services. Binance wants to
  address your concerns without resorting to formal legal proceedings, if possible. A ticket number will
  be assigned to you if your concerns cannot be addressed to your satisfaction at first instance. The
  issuance of the ticket number commences the internal dispute resolution procedure. Binance will
  attempt to resolve the dispute internally as soon as possible. The parties agree to negotiate in good
  faith to resolve the dispute (which discussions shall remain confidential and be subject to applicable
  rules protecting settlement discussions from use as evidence in any legal proceeding).

  31.2.     In the event the dispute cannot be resolved satisfactorily, and you wish to assert a Claim
  against Binance, then you agree to set forth the basis of such Claim in writing in a “Notice of Claim,”
  as a form of prior notice to Binance. The Notice of Claim must (1) describe the nature and basis of the
  claim or dispute, (2) set forth the specific relief sought, (3) provide the original ticket number, and (4)
  include your custody account email. The Notice of Claim should be submitted to the following web
  address: https://www.binance.com/en/chat. After you have provided the Notice of Claim to Binance,
  the dispute referenced in the Notice of Claim may be submitted by either Binance or you to arbitration
  in accordance with the below clause (Agreement to Arbitrate).

https://www.binance.com/en/terms                                                                              30/42
9/8/23, 1:14 PM                                               binance.com/en/terms


  31.3.           For the avoidance of doubt, the submission of a dispute to Binance for resolution internally
  and the delivery of a Notice of Claim to Binance are prerequisites to commencement of an arbitration
  proceeding (or any other legal proceeding).

  31.4.     During the arbitration, the amount of any settlement offer made by you or Binance shall not
  be disclosed to the arbitrator.

  32. Agreement to Arbitrate


  32.1.    Aside from where Applicable Law requires or provides you with a choice otherwise, you and
  Binance agree that, subject to the immediately preceding clause above (Notice of Claim and Dispute
  Resolution Period), any Claim shall be determined by mandatory final and binding individual (not
  class) arbitration administered by the Hong Kong International Arbitration Centre (“HKIAC”) in
  accordance with the HKIAC Rules for the time being in force, which rules are deemed incorporated by
  reference in this clause.


  32.2.           The seat of arbitration shall be Hong Kong.

  32.3.   The Tribunal shall consist of one (1) arbitrator to be appointed in accordance with the
  HKIAC Rules for the time being in force.

  32.4.           The language of the arbitration shall be in English.


  32.5.      You and Binance further agree that the arbitrator shall have the exclusive power to rule on
  his or her own jurisdiction, including without limitation any objections with respect to the existence,
  scope or validity of the Agreement to Arbitrate, or to the arbitrability of any Claim.

  32.6.           The arbitration provisions set forth in this clause will survive termination of these Terms.

  32.7.           Limitation period for filing: Any arbitration against Binance must be commenced by filing and
  serving a Notice of Arbitration in accordance with the HKIAC Rules within one (1) year after the date
  that the user asserting the Claim first found out or reasonably should have found out the alleged act,
  omission or default giving rise to the Claim (“Limitation Period”). For the avoidance of doubt, the
  Limitation Period shall include the Dispute Resolution Period set out at clause 31.1. There shall be no
  right to any remedy or relief for any Claim by the user if the Notice of Arbitration in respect of that
  Claim is not filed and served on Binance within that Limitation Period. If the Limitation Period is
  contrary to applicable law, the user shall be required to bring any Claim against Binance within the
  shortest time period permitted by the applicable law. A Notice of Arbitration may be served on Binance
  in accordance with the Applicable Laws and rules of service.


https://www.binance.com/en/terms                                                                                 31/42
9/8/23, 1:14 PM                                              binance.com/en/terms


  32.8.    Notice: if Binance commences arbitration against you, Binance will give you notice at the
  email address or mailing address you have provided. You agree that any notice sent to this email or
  mailing address shall be deemed effective for all purposes, including without limitation to
  determinations of the adequacy of service. It is your obligation to ensure that the email address and/or
  mailing address on file with Binance is up-to-date and accurate.

  33. Confidentiality

  33.1.           The parties agree that the arbitration shall be kept confidential. The existence of the
  arbitration, the existence or content of the Claim, all documents and information provided or
  exchanged in connection with the arbitration, and any submissions, orders or awards made in the
  arbitration shall be kept confidential and no party shall disclose any of the foregoing to any third party
  except the tribunal, the HKIAC, the parties, their counsels, experts, witnesses, accountants and
  auditors, insurers and reinsurers, and any other persons necessary to the conduct of the arbitration.
  Notwithstanding the foregoing, a party may disclose such confidential information:

  a.     if the written consent of the other party is obtained;

  b. to the extent required by applicable law or by the regulations of any regulatory or supervisory
  authority of competent jurisdiction to which the party is or may become subject to or pursuant to any
  order of court or other competent authority or tribunal of competent jurisdiction;

  c.     in connection with the commencement, pursuit or defence by a party of any bona fide legal
  proceedings to enforce or challenge any award rendered in the arbitration; and

  d. to the extent that the relevant confidential information is in the public domain otherwise than by
  breach of this agreement.



  This term of confidentiality in this clause shall survive termination of these Terms and conclusion or
  stay of any arbitration brought pursuant to these Terms.



  34. Governing law


  Aside from where Applicable Law requires or provides you with a choice otherwise, these Terms
  (including this arbitration agreement) shall be governed by, and construed in accordance with, the
  laws of Hong Kong.



https://www.binance.com/en/terms                                                                            32/42
9/8/23, 1:14 PM                                             binance.com/en/terms


  35. Class action waiver

  You and Binance agree that any Claims shall be brought against Binance in an arbitration on an
  individual basis only and not as a plaintiff or class member in a purported class or representative
  action. You further agree to waive any right for such Claims to be brought, heard, or arbitrated as a
  class, collective, representative, or private attorney general action, to the extent permissible by
  applicable law. Combining or consolidating individual arbitrations into a single arbitration is not
  permitted without the consent of Binance.

  GENERAL

  36. General terms

  36.1.           Applicable Law. You and any Permitted User must comply with all Applicable Law,
  licensing requirements and third party rights (including data privacy laws and anti-money laundering
  and countering the financing of terrorism laws) in your use of the Binance Services, your Binance
  Account and the Platform.

  36.2.           Notices. We may give notice by email to your Email Account. It is your responsibility to
  ensure that the Email Account is up to date and accurate. Notices may be given, and are deemed to
  be received, if sent to your Email Account, whether or not a notice of delivery failure is received.

  You may give us notices only as we direct, which may change from time to time.

  Any notices, consent or other communication given under these Terms must be in writing, in English,
  and signed or otherwise authorised by the party giving it.

  36.3.           Announcements. All official announcements, news, promotions, competitions and airdrops
  will be listed on the Website. These announcements are important, and may relate to issues that may
  impact the value of your Digital Assets, or their security. You are responsible for monitoring the
  Website and reading and considering these announcements.

  36.4.           Entire agreement. The Terms, together with any applicable Product Terms, constitute the
  whole agreement between you and us with respect to the Binance Services. Each party acknowledges
  that it has not relied on, and shall have no right or remedy in respect of, any statement,
  representation, assurance or warranty (whether made negligently or innocently) other than as
  expressly set out in the Terms or any Product Terms.

  36.5.           Assignment. You may not assign or transfer any of your rights or obligations under the
  Terms without our prior written consent. However, we may assign or transfer any of our rights or
https://www.binance.com/en/terms                                                                             33/42
9/8/23, 1:14 PM                                             binance.com/en/terms

  obligations under the Terms at any time to anyone else, including, without limitation, in connection with
  any merger, acquisition, or other corporate reorganisation involving Binance.

  36.6.       Invalidity. If, at any time, any clause or sub-clause of the Terms is or becomes illegal,
  invalid, or unenforceable in any respect, neither the legality, validity or enforceability of the remaining
  clauses or sub-clauses will in any way be affected or impaired.

  36.7.           Records. You agree that we may record any telephone, email and chat conversations with
  you, as well as any other forms of communications, including communication used to give Instructions
  or effect Transactions, between you and us, and that the recordings may be used as evidence in any
  proceedings relating to any agreement with you. These records will be our sole property.

  36.8.           Language. These Terms may be translated into a language other than the English
  language. Any such translation is provided solely for your convenience. In the event of inconsistency
  or ambiguity, the English text will prevail.

  36.9.           Third party rights. Other than in relation to Binance Affiliates, nothing expressed or
  referred to in these Terms will be construed to give any person other than the parties to these Terms
  any legal or equitable right, remedy, or claim under or with respect to these Terms or any clause or
  sub-clause of these Terms. The Terms and all of its clauses and sub-clauses are for the sole and
  exclusive benefit of the parties to these Terms and their successors and permitted assigns.

  36.10.    Survival. All clauses and sub-clauses of these Terms, which by their nature extend beyond
  the expiration or termination of these Terms, will continue to be binding and operate after the
  termination or expiration of these Terms.

  36.11.          Relationship of the parties. Binance is not an agent of you in the performance of these
  Terms. These Terms shall not be interpreted as facts or evidence of an association, joint venture,
  partnership, or franchise between the parties.

  36.12.          Digital Assets. We record in your Binance Account the quantity and type of any Digital
  Assets that are held to your credit. Binance is not a trustee of, and does not owe any trustee duties in
  relation to, any Digital Assets held to your credit. When you Instruct Binance to transfer or otherwise
  deal with Digital Assets, Binance will not use any specific Digital Assets, however identifiable, to act on
  your Instructions. Subject to these Terms, Binance will use Digital Assets in the same quantity and of
  the same type as those credited to your Binance Account when acting on your Instructions.

  36.13.          Force Majeure. We will not be liable for any delay or failure to perform as required by these
  Terms to the extent the delay or failure is caused by a Force Majeure Event.



https://www.binance.com/en/terms                                                                             34/42
9/8/23, 1:14 PM                                           binance.com/en/terms


  36.14.          No waiver. No delay or omission by us in exercising any right or remedy under the Terms
  will operate as a waiver of the future exercise of that right or remedy or of any other rights or remedies
  under the Terms. The rights and remedies provided in the Terms are cumulative and not exclusive of
  any rights or remedies provided by Applicable Law.

  36.15.   Set-off. In addition to any legal or other remedy available under the Terms or by law, we
  may set-off any amounts you owe to us under the Terms or otherwise. You must pay all sums that you
  owe to us free and clear without any set-off, counterclaim, deduction or withholding of any kind, save
  as may be required by Applicable Law.

  36.16.      Privacy of others. If you receive information about another user through the Platform or
  from utilising the Binance Services, you must keep the information confidential and only use it in
  connection with the Binance Services and always in accordance with Applicable Law. You must not
  disclose or distribute any user information to a third party or use the information in any manner except
  as reasonably necessary to effect a Transaction.

  36.17.          Publication of breaches. Where you have breached these Terms, Binance may publish, or
  otherwise provide its users with details of the breach, including any information that you have provided
  Binance. Binance may only do so where it determines that doing so is necessary for the protection of
  other users, and consistent with Applicable Law.

  36.18.          Death of Binance Account holder. In the event of your death or incapacity, the
  representative(s) of your estate or the survivor or survivors must give us written notice as soon as
  practicable. If we have reason to believe you have died, we may suspend your Binance Account. Your
  Binance Account will be suspended until:

  a. a representative of your estate or authorised beneficiary either (1) creates a Binance Account in
  accordance with these Terms; or (2) provides wire transfer instructions; and


  b. provides sufficient legal documentation that they are entitled to receive the assets in your
  Binance Account; or

  c.     you provide satisfactory proof that you are not deceased.

  Beneficiaries receiving a wire transfer will receive the liquidated value of the assets in the Binance
  Account, less any fees and costs associated with the transfer. Our ability to provide your
  representative(s) with the assets in your Binance Account is subject to the restrictions imposed by
  Applicable Law and these Terms. We do not commit to any particular timeline for the transfer of assets
  held to the credit of your Binance Account.


https://www.binance.com/en/terms                                                                            35/42
9/8/23, 1:14 PM                                             binance.com/en/terms


  36.19.          Tax. It is your responsibility to determine what, if any, taxes apply to the payments you make
  or receive, and it is your responsibility to collect, report, and remit the correct tax to the appropriate tax
  authority. You agree that we are not responsible for determining whether any taxes apply to your use
  of the Binance Services, or for collecting, reporting or remitting any taxes arising from any Transaction
  or use of the Binance Services.


  You acknowledge that we may make certain reports to tax authorities regarding Transactions made on
  the Platform, and that we may, in our sole discretion or as required by Applicable Law, provide you
  with additional documentation or records needed by you to calculate any tax obligations. We may also
  withhold and deduct at source any taxes due under Applicable Law in our sole discretion.



  37. Definitions and interpretation

  In these Terms:

  a.     clause headings and numbering are for convenience only and do not affect the meaning, priority
  or interpretation of any clause or sub-clause of these Terms;

  b.     the words “include” or “including” shall mean including without limitation and include without
  limitation respectively;

  c. any undertaking to do or not do a thing shall be deemed to include an undertaking not to permit
  or suffer the doing of that act or thing;

  d.     words importing the singular include the plural and vice versa and words importing a gender
  include any gender;

  e.     any reference to a document is to that document as amended, varied or novated from time to
  time otherwise than in breach of these Terms or that document; and

  f.  in the event of inconsistency between these Terms (including any documents referred to in these
  Terms) the inconsistency shall be solved by giving such provisions and documents the following order
  of precedence:

  i.     the Product Terms;

  ii.    the Privacy Notice; and



https://www.binance.com/en/terms                                                                             36/42
9/8/23, 1:14 PM                                         binance.com/en/terms


  iii.   these Terms.

  g.     except where the context requires others, the following terms shall have the following meanings:


  Access IDs means your Binance Account details, username, passwords, personal identification
  numbers, API keys, API secret keys, or any other codes or forms of authentication that you use to
  access your Binance Account or the Binance Services or to send Instructions.

  Account History means the written record (including electronic records) of your Transactions and
  your Binance Account.


  API means application program interface.

  Applicable Law means all relevant or applicable statutes, laws (including rules of common law),
  principles of equity, rules, regulations, regulatory principles and requirements, notices, orders, writs,
  injunctions, judgements, bye-laws, rulings, directives, proclamations, circulars, mandatory codes of
  conduct, guidelines, practice notes and interpretations (whether of a governmental body, regulatory or
  other authority, or self-regulatory organisation of which Binance is a member), that are applicable to
  the provision, receipt or use of the Binance Services, or any other products or deliverables provided,
  used or received in connection with the Binance Services, these Terms, or any Product Terms.

  Backed Digital Assets has the meaning given to it in clause 1
                                                              ‎ 5.3.

  Binance, we, our or us means Nest Services Limited (a company incorporated under the laws of the
  Republic of Seychelles with registration number 238045 and address at House of Francis, Room 303,
  Ile Du Port, Mahe, Seychelles).

  Binance Account means any accounts (including Corporate Binance Accounts) or sub-accounts
  (including any Binance Sub-Account), which are opened by Binance for you to record your use of
  Binance Services.

  Binance Affiliates means with respect to Nest Services Limited: any other person which, directly or
  indirectly, Controls, is Controlled by, or is under common Control with, Nest Services Limited.

  Binance API means an API made available by a Binance Affiliate to you as a service, or third-party
  applications relying on such an API.

  Binance IP means the Created IP and all other Intellectual Property Rights owned by or licensed, on
  a sub-licenseable basis, to us as at the date of the Terms and any other Intellectual Property Rights


https://www.binance.com/en/terms                                                                              37/42
9/8/23, 1:14 PM                                         binance.com/en/terms

  owned or acquired by or licensed, on a sub-licenseable basis, to us after the date of these Terms, and
  which are provided by us to you in the course of providing you with the Binance Services.

  Binance Services means the services offered by us to you through the Platform.


  Binance Sub-Account means a sub-account that is set up under a primary Binance Account.

  Chat Service has the meaning given to it in clause 5
                                                     ‎.

  Claim means any dispute, claim, difference or controversy between you and Binance (and/or any
  Binance Affiliates) arising out of, in connection with, or relating in any way to:


  (a) these Terms or any Product Terms, including their existence, validity, subject matter,
  interpretation, performance, breach, negotiation, termination, enforceability or the consequences of
  their nullity;

  (b) your relationship with Binance (and/or any Binance Affiliates) as a user (whether based in
  contract, tort, statute, fraud, misrepresentation, or any other legal theory, and whether the claims arise
  during or after the termination of these Terms); or

  (c)    any non-contractual obligations arising out of or relating to these Terms, or any Product Terms, or
  your relationship with Binance (and/or any Binance Affiliates).

  Control means the power of a person to secure that the affairs of another are conducted in
  accordance with the wishes of the first person whether by means of:


  (a) in the case of a company, being the beneficial owner of more than fifty percent (50%) of the
  issued share capital of or of the voting rights in that company, or having the right to appoint and
  remove a majority of the directors or otherwise control the votes at board meetings of that company by
  virtue of any powers conferred by the organisational documents, shareholders’ agreement, a majority
  of the board of directors or any other document regulating the affairs of that company or by any other
  means; or


  (b) in the case of a partnership, being the beneficial owner of more than fifty percent (50%) of the
  capital of that partnership, or having the right to control the composition of or the votes to the majority
  of the management of that partnership by virtue of any powers conferred by the partnership
  agreement or any other document regulating the affairs of that partnership or by any other means.

  Corporate Binance Account means a Binance Account maintained for a corporation, entity, or other
  organisation for the provision of Binance Services.

https://www.binance.com/en/terms                                                                           38/42
9/8/23, 1:14 PM                                                binance.com/en/terms


  Created IP means any Intellectual Property Rights created by you pursuant to these Terms, including
  the User Materials, but excluding any other User IP.

  Digital Assets means a digital representation of value or rights which may be transferred and stored
  electronically, using distributed ledger technology or similar technology, including, but not limited to,
  cryptocurrencies, stablecoins, non-fungible tokens and tokenised derivatives of any other digital asset.


  Dominant Digital Asset means a Forked Digital Asset that has dominance over one or more other
  versions of a Digital Asset that was subject to the relevant Fork, as determined by us in our sole
  discretion.

  Email Account means the email account(s) associated with your Binance Account(s), as agreed with
  Binance from time to time, in accordance with any processes identified by Binance when using the
  Platform.

  Fiat Currency means any government or central bank issued national, or supra-national, currency, or
  other monetary obligation denominated in such currency and which is not a Digital Asset.

  Force Majeure Events means:

  a.     any fire, strike, riot, civil unrest, terrorist act, war or industrial action;

  b.     any natural disaster such as floods, tornadoes, earthquakes and hurricanes;

  c.     any epidemic, pandemic or public health emergency of national or international concern;

  d.     any act or regulation made by a government, supra national body or authority that we believe
  stops us from providing Binance Services on the Platform;

  e.     the suspension or closure of any Binance Affiliate;

  f.     the nationalisation of any Binance Affiliate;

  g.     the imposition of limits or unusual terms by a government on any Digital Assets traded on our
  Platform;

  h.     excessive changes to the price, supply or demand of any Digital Asset;

  i.     technical failures in transmission, communication or computer facilities including power failures


https://www.binance.com/en/terms                                                                             39/42
9/8/23, 1:14 PM                                            binance.com/en/terms

  and electronic or equipment failures;

  j.     the failure of any supplier, intermediate broker, agent, principal custodian, sub-custodian, dealer,
  exchange, staking platform, liquidity pool, bridge provider, issuer of a Backed Digital Asset, market
  maker, clearing house or regulatory organisation to perform its obligations to us;

  k.     liquidity providers not providing, or being unable to provide liquidity to us;


  l.  any labour or trade disputes, strikes, industrial actions or lockouts (other than in each case by
  Binance or the Binance Affiliates); and/or

  m.     an event which significantly disrupts the market for Digital Assets, which could include excessive
  movements in the price, supply or demand of a Digital Asset, whether regulated or unregulated.

  Fork means any planned, unplanned, sudden, scheduled, expected, unexpected, publicised, not well-
  known, consensual, and/or controversial changes to the underlying operating rules of certain Digital
  Assets that may occur from time to time, in such a way as to result in the creation of one or more
  related versions of an existing Digital Asset.

  Forked Digital Asset means a Digital Asset that results from a Fork.

  Instruction means any instruction, request, or order given to Binance by you or a Permitted User in
  relation to the operation of your Binance Account or to execute any Transaction, through such medium
  and in such form and manner as Binance may require.

  Intellectual Property Rights means: (a) copyright, patents, database rights and rights in trade marks,
  designs, know-how and confidential information (whether registered or unregistered); (b) applications
  for registration, and rights to apply for registration, of any of the foregoing rights; and (c) all other
  intellectual property rights and equivalent or similar forms of protection existing anywhere in the world.

  List of Prohibited Countries means the list of countries accessible at
  https://www.binance.com/en/legal/list-of-prohibited-countries.

  Local Terms means the terms governing your use of the Binance Services provided in any particular
  jurisdiction.


  Losses has the meaning given to it in clause ‎29.1.

  Manifest Error means any error, omission or misquote (whether an error of Binance or any third
  party) which is manifest or palpable, including a misquote by any representative of Binance taking into

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9/8/23, 1:14 PM                                         binance.com/en/terms

  account the current market and currently advertised quotes, or any error of any information, source,
  official, official result or pronunciation.

  Mobile App means any mobile application developed or provided by us or any of the Binance
  Affiliates that enables you to use or otherwise access Binance Services.


  Permitted User means any person identified by you and communicated to us, in accordance with
  these Terms, that is authorised to act on a user’s behalf with respect to any Corporate Binance
  Account.

  Platform means the digital platform that we or any of the Binance Affiliates may make accessible to
  you via Sites, the Mobile App, a Binance API or by such other means as Binance Affiliates may
  prescribe from time to time for the use of Binance Services.

  Privacy Notice means the privacy notice located at https://www.binance.com/en/privacy.

  Product Terms means the product-specific terms and conditions that apply to the use of a Binance
  Service, in addition to these Terms.

  Regulatory Authority means any foreign, domestic, state, federal, cantonal, municipal or local
  governmental, executive, legislative, judicial, administrative, supervisory or regulatory authority,
  agency, quasi-governmental authority, court, commission, government organisation, self-regulatory
  organisation having regulatory authority, tribunal, arbitration tribunal or panel or supra-national
  organisation, or any division or instrumentality thereof, including any tax authority.

  Restricted Person means a person or legal entity who (a) is included in any trade embargoes or
  economic sanctions, terrorist or corrupt foreign officials list (such as the United Nations Security
  Council Sanctions List, issued by a government agency including the list of specially designated
  nationals maintained by the office of foreign assets control of the U.S. Department of the Treasury
  (OFAC), or the denied persons or entity list of the U.S. Department of Commerce), or by the United
  Kingdom, European Union, Canada) tor (b) resides, or is established, or has operations in, in any
  country listed in the List of Prohibited Countries.

  Risk Warning means the general risk warning published on the Website.

  Security Breach means

  a.     your Binance Account(s) or any of your Access IDs have been compromised;




https://www.binance.com/en/terms                                                                         41/42
9/8/23, 1:14 PM                                          binance.com/en/terms


  b.     the loss, theft, or unauthorised use of any of your Access IDs or any unauthorised access to and
  use of your Binance Account or the Binance Services on your behalf; or

  c.     any other security incident (including a cyber-security attack) affecting you and/or Binance.

  Sites means our Website and any other websites, pages, features, or content we own or operate.

  Supported Digital Assets means those Digital Assets that are available in connection with your use
  of the Binance Services.

  Terms means these terms of use, together with any other documents expressly incorporated by
  reference, including the Product Terms, in each case as amended or supplemented from time to time.


  Trade Marks means the Intellectual Property Rights in the trade marks, service marks and logos used
  and displayed on or through the Platform, the Sites and/or the Binance Services.

  Transaction means selling, purchasing, or entering into any other type of transactions, or agreeing to
  sell, purchase or enter into any other type of transactions involving Digital Asset(s), their derivatives,
  other asset(s) or product(s) as Binance may from time to time permit to be carried out on the Platform,
  and depositing or withdrawing Digital Assets or Fiat Currency into or out of your Binance Account.

  User IP means the Intellectual Property Rights owned by or licensed to you as at the date of these
  Terms and any other Intellectual Property Rights owned or acquired by or licensed to you after the
  date of these Terms, excluding Binance IP.

  User Materials means the Intellectual Property Rights in any reviews, posts, information, data, and
  comments you or other users provide to us on the Sites (through our “Contact Us” pages or
  otherwise), the Platform, through use of Binance Services, or otherwise.

  Website means the website located at www.binance.com.




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